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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                          Criminal No. 12-26(06)(JRT/JSM)

UNITED STATES OF AMERICA,                 )
                                          )
                     Plaintiff,           )      GOVERNMENT'S RESPONSE
                                          )      TO DEFENDANT'S MOTION
              v.                          )      TO MODIFY TERMS OF
                                          )      PRETRIAL CONFINEMENT
WILLIAM EARL MORRIS,                      )
                                          )
                     Defendants.          )

       The United States Attorney, B. Todd Jones, by and through the undersigned

Assistant United States Attorney, Andrew R. Winter, hereby submits the Government’s

Response To Defendant's Motion to Modify Terms of Pretrial Confinement.

Motion to Modify Terms of Pretrial Confinement [Docket No. 1113]

       The government takes no position on the defendant’s motion but believes that the

Minnesota Department of Corrections is not bound by the defendant’s request in his

Waiver of Interstate Agreement on Detainers. If the defendant wishes to rescind his

waiver and return to federal custody, the United States does not object.


Dated: April 2, 2013                             B. TODD JONES
                                                 United States Attorney

                                                 s/ Andrew R. Winter

                                                 BY: ANDREW R. WINTER
                                                 Assistant U.S. Attorney
                                                 Attorney ID No. 0232531
